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                               S OUTHERN D ISTRICT OF N EW Y ORK

       CHRISTINE DAVIS


(List the full name(s) of the plaintiff(s)/petitioner(s).)                                 _21_CV_0594__ ( KPF )                  )
                                  -against-
                                                                                           ( NOTICE OF
        WALT DISNEY et. al.
                                                                                           APPEAL

(List the full name(s) of the defendant(s)/respondent(s).)



Notice is hereby given that the following parties:                         CHRISTINE DAVIS


(list the names of all parties who are filing an appeal)


in the above-named case appeal to the United States Court of Appeals for the Second Circuit

from the             judgment             order            entered on:            March 19, 2024
                                                                                (date that judgment or order was entered on docket)
that:
                Court's order dismissing the instant action because the Court determined that there

       wasn't a sufficient similarity between Plaintiff's work and the defendant's work.
(If the appeal is from an order, provide a brief description above of the decision in the order.)

       April 18, 2024
                                                                                       *
    Dated                                                                  Signature

         Thompson, Walter John
    Name (Last, First, MI)

              565 Fifth Avenue, 721              New York                  NY                              10017
    Address                                       City                     State                            Zip Code
         (646) 922-8900                                                       wjt@thompsonlawnyc.com
    Telephone Number                                                       E-mail Address (if available)




*
 Each party filing the appeal must date and sign the Notice of Appeal and provide his or her mailing address and telephone
number, EXCEPT that a signer of a pro se notice of appeal may sign for his or her spouse and minor children if they are parties
to the case. Fed. R. App. P. 3(c)(2). Attach additional sheets of paper as necessary.
Rev. 12/23/13
